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                               UNITED STATES COURT OF APPEALS
                                    FOR THE SIXTH CIRCUIT
                                   100 EAST FIFTH STREET, ROOM 540
      Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
          Clerk                       CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                                    Filed: July 05, 2022




   Ms. LeAnna Wilson
   Eastern District of Tennessee at Knoxville
   800 Market Street
   Suite 130 Howard H. Baker, Jr. U.S. Courthouse
   Knoxville, TN 37902-0000

                            Case No. 21-5801, Greg Adkisson, et al v. Jacobs Engineering Group, Inc
                        Re: Originating Case No. : 3:13-cv-00505 : 3:13-cv-00666 : 3:14-cv-00020 : 3:15-cv-00017 :
                            3:15-cv-00274 : 3:15-cv-00420 : 3:15-cv-00460 : 3:15-cv-00462 : 3:16-cv-00635 : 3:16-
                            cv-00636

   Dear Ms. Wilson,

     Enclosed is a copy of the mandate filed in this case.

                                                    Sincerely yours,

                                                    s/Divya Kumar
                                                    For Ryan Orme, Case Manager

   cc: Ms. Catherine W. Anglin
       Mr. David Demar Ayliffe
       Mr. Theodore J. Boutrous Jr.
       Ms. Theane Diana Evangelis
       Mr. David B. Fountain
       Mr. William James Harbison II
       Mr. William A. Ladnier
       Mr. Peter S. Modlin
       Mr. Louis W. Ringger III
       Mr. James Isaac Sanders
       Mr. Mark E. Silvey
       Mr. Jeremy Sokol Smith



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               Case: 21-5801   Document: 53   Filed: 07/05/2022   Page: 2




      Mr. Dwight Edward Tarwater

   Enclosure




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                                UNITED STATES COURT OF APPEALS
                                     FOR THE SIXTH CIRCUIT

                                              ________________

                                                 No: 21-5801
                                              ________________

                                                                         Filed: July 05, 2022

   GREG ADKISSON; DONNA ADKISSON; GABRIEL BILLINGSLEY; LEONARD
   BLEDSOE; JULIE BLEDSOE; CARL BOOKER; KAREN BOOKER; JEFFERY BREWER;
   TAMMY BREWER; ANSOL CLARK; ANNA CLARK; DAN CODY; ELAINE CODY;
   PHILIP CRICK; BRENDA CRICK; ENOCH ROY EDMONDS; BRENDA EDMONDS;
   BILLY GIBSON; TIMOTHY GIBSON; REBECCA GIBSON; WILLIAM HEDGECOTH;
   STAN HILL; BILLY ISLEY; DAVID JOHNSON; DAVID JONES; JIMMY KILBY;
   MICHAEL J. MCCARTHY; CLINT MANNIS; MARGARET MANNIS; JOE PURSIFUL;
   BRENDA PURSIFUL; RALPH RAMEY; JIMMY ROBERTS; ROBBIE ROBERTS; BRIAN
   SUMMERS; ROBERT TEDDER; BRIAN THACKER; ANGE THACKER; MICHAEL
   WATKINS; JASON WILLIAMS; TINA WILLIAMS; KEVIN THOMPSON; JOY
   THOMPSON; SHAWN TRAVIS SMITH; JOE CUNNINGHAM; KALEB WILLIAM ROSE;
   CRAIG WILKINSON; CHRISTINA L. WILKINSON; TIM BANDY; HARVEY BASS; CHRIS
   JONES; GLENN KNIGHT; FRANKIE NORRIS; JEFF TOWNSLEY; TIMOTHY TURNER;
   JAMES PHILLIPS; KENNETH SHEPHERD; ANGIE SHELTON; RICKY DEAN SHELTON;
   JOHNNY CHURCH; DONALD R. VANGUILDER, JR.; JUDY IVENS; PAUL RANDY
   FARROW

                   Plaintiffs - Appellees

   v.

   JACOBS ENGINEERING GROUP, INC.

                   Defendant - Appellant



                                               MANDATE

        Pursuant to the court's disposition that was filed 06/13/2022 the mandate for this case hereby

   issues today.




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             Case: 21-5801   Document: 53   Filed: 07/05/2022   Page: 4




   COSTS: None




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